       Case 1:17-cr-00232-EGS Document 147-1 Filed 12/19/19 Page 1 of 1




                                                      U.S. Department of Justice

                                                      Jessie K. Liu
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530




                                                     December 15, 2019

Via Email & FedEx
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314


       Re:      United States v. Michael T. Flynn, 17-cr-00232 (EGS)

Dear Counsel:

        The government is hereby providing defendant Michael T. Flynn with the reports and
related materials for his post-January 24, 2017 interviews, which are numbered DOCSCO-
700022699 – DOJSCO700023423. Small portions of these materials are redacted because they
contained privileged/deliberative process information. The government is also providing counsel
with a copy of defendant Flynn’s grand jury transcript, which is protected under Rule 6(e), which
is numbered DOJSCO-700023424 – DOJSCO-700023460. There materials are covered by the
Protective Order entered by the Court on February 21, 2018.

                                            Sincerely,

                                            JESSIE K. LIU
                                            United States Attorney

                                     By:
                                            Brandon L. Van Grack
                                            Special Assistant United States Attorney
                                            Jocelyn Ballantine
                                            Assistant United States Attorney
